Case 3:19-mj-01582-DEA Document 34 Filed 11/02/20 Page 1 of 3 PagelD: 82

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA : Hon. Douglas E. Arpert
v. : Mag. No. 19-1582-2 (DEA)
JOHANNA R, HERRERA : ORDER FOR A CONTINUANCE

This matter having come before the Court on the joint application of
Craig Carpenito, United States Attorney for the District of New Jersey (by Elisa
T. Wiygul, Assistant United States Attorney), and defendant Johanna R.
Herrera (by Clifford E, Lazzaro, Esq,}, for an order granting a continuance of
the proceedings in the above-captioned matter from the date this Order is
signed through December 31, 2020 to allow the defendant to enter a plea of
guilty; and the Court having entered Standing Orders 20-02, 20-03, 20-09, 20-
12, an Extension of Standing Order 20-12, and a Second Extension of Standing
Order 20-12 continuing this and all other criminal matters in this district until
January 4, 2021, in response to the national emergency created by COVID-19;
and the defendant being aware that she has the right to have the matter
submitted to a grand jury within 30 days of the date of her arrest pursuant to
Title 18, United States Code, Section 3161(b); and five prior continuances
having been entered; and the defendant, through her attorney, having
consented to the continuance; and for good and sufficient cause shown,

IT iS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

 

 
Case 3:19-mj-01582-DEA Document 34 Filed 11/02/20 Page 2 of 3 PagelD: 83

(1) The defendant has signed a plea agreement, and both the United
States and the defendant seek additional time to allow the defendant to enter
her plea of guilty before a U.S. District J udge, which would render any grand
jury proceedings and any subsequent trial of this matter unnecessary;

(2) The defendant recently retained new counsel, who entered his
appearance in this matter on or about October 21, 2020, and the failure to
grant such a continuance would deny counsel for the defendant or the attorney
for the government the reasonable time necessary for effective preparation,
taking into account the exercise of due diligence;

{3) In response to the national emergency created by COVID-19, the
Chief Judge of this Court has entered Standing Orders 20-02, 20-03, 20-09,
20-12, an Extension of Standing Order 20-12, and a Second Extension of
Standing Order 20-12, which are incorporated herein by reference;

(4) The defendant has consented to the aforementioned continuance;

(5) The grant of a continuance will likely conserve judicial resources;
and

(6) Pursuant to Title 18, United States Code, Section 3161(h){7), the
ends of justice served by granting the continuance outweigh the best interests

of the public and the defendant in a speedy trial.

8
WHEREFORE, it is on this Ab day of Berber, 2020;

ORDERED that this action be, and it hereby is, continued from the date
this Order is signed through December 31, 2020; and it is further

2

 
Case 3:19-mj-01582-DEA Document 34 Filed 11/02/20 Page 3 of 3 PagelD: 84

ORDERED that the period from the date this Order is signed through
December 31, 2020 shall be excludable in computing time under the Speedy
Trial Act of 1974.

/ B41 G ut

HON, DOUGIAS ARPERT
United States Maptfstrate Judge

 

 

 

 

 

Form and entry consented to: APPROVED BY:

/s/ Elisa T. Wiygul /s/ J. Brendan Day

ElisaT. Wiygsul ss J. Brendan Day

Assistant United States Attorney Attorney-in-Charge, Trenton Office
(te Le “] ——, /s/ Matthew J. Skahill

Clifford E. Lazzaro, Esq. Matthew J, Skahill

Counsel for Defendant Johanna R. Herrera Deputy United States Attorney

 

 
